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                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT COURT OF ARKANSAS
                               WESTERN DIVISION

KENYA THOMPSON                                                                      PLAINTIFF

v.                                 Case No: 4:18-CV-905-SWW

UNION PACIFIC RAILROAD COMPANY                                                    DEFENDANT


                       PLAINTIFF’S MOTION FOR LEAVE TO FILE
                       REPLY MEMORANDUM IN SUPPORT OF HER
                        FIRST MOTION TO COMPEL DISCOVERY

        Plaintiff, Kenya Thompson, by and through her undersigned counsel seeks leave to file a

reply memorandum in support of her first motion to compel discovery. In support of her motion,

Plaintiff states as follows:

        1.      On September 19, 2019, Plaintiff filed a motion to compel discovery, along with

an 11-page memorandum in support, to address various discovery disputes in the pending cause.

Subsequently, new counsel for Defendant entered their appearance and requested additional time

to respond to Plaintiff’s motion. Plaintiff consented to this request, and the Court ultimately

allowed Defendant to submit a memorandum in opposition by October 15, 2019.

        2.      October 15, 2019, at 4:57 pm CDT, Defendant filed a 7-page response in opposition

to Plaintiff’s motion to compel, and an additional 47-page memorandum in opposition to Plaintiff’s

motion to compel. ECF Nos. 30 and 31. In Defendant’s pleadings, it raises new arguments,

including assertions that Plaintiff failed to follow procedural practices in filing her motion to

compel, as well as new claims attacking the substance of Plaintiff’s motion.

        3.      Plaintiff seeks leave to file the attached Reply Memorandum (Exhibit A) to address

these new arguments.

        WHEREFORE, for the foregoing reasons, Plaintiff Kenya Thompson respectfully

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requests that this Court grant her Motion for Leave to file a Reply Memorandum in Support of

her Motion to Compel, to be deemed filed upon the granting of this Motion, instanter, and for all

other such relief this Court deems proper.



Dated: October 22, 2019                      Nelson G. Wolff ABN #2006002
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